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                                                                                     2024 Nov-18 PM 04:22
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA



              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         JASPER DIVISION

UNITED STATES OF AMERICA                       )
                                               )       Case No.
             v.                                )
                                               )
DANIEL LEE ALLAN BROWN                         )

                              PLEA AGREEMENT

      The Government and the defendant, DANIEL LEE ALLAN BROWN,

hereby acknowledge the following plea agreement in this case:

                                       PLEA

      The defendant agrees to (i) plead guilty to COUNT ONE of the Information

filed in the above-numbered and -captioned matter; (ii) stipulate to United States

Sentencing Guideline §3Al .3 (Restraint of Victim)-2 Level Enhancement and

§3Al .1 (Vulnerable Victim)-2 Level Enhancement, and (iii) waive certain rights to

direct appeal and collateral attack as outlined in section IV of this agreement. In

exchange, the United States Attorney, acting on behalf of the Government and

through the undersigned Assistant United States Attorney, agree to recommend the

disposition specified below, subject to the conditions in section VII.




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                                TERMS OF THE AGREEMENT

 I.          MAXIMUM PUNISHMENT

                    The defendant understands that the maximum statutory punishment that

      may be imposed for the crime of Deprivation of Rights under Color of Law, in

      violation of Title 18, United States Code, Section 242, as charged in COUNT ONE

      1s:

                    A.      Imprisonment for not more than one year;

                    B.      A fine of not more than 100,000.00, or;

                    C.      Both (a and b);

                    D.      Supervised release of not more than one year; and

                    E.      Special Assessment Fee of $25 per count.

II.          FACTUAL BASIS FOR PLEA

             The Government is prepared to prove, at a minimum, the following facts at

      the trial of this case:

             On January 12, 2023, the Walker County Jail (Jail) was headed by the elected
      Sheriff, the Jail Administrator, the Captain, and officers who served as shift
      supervisors over two day shifts and two night shifts. Each shift was staffed by several
      officers who performed various duties related to the care, custody, and control of the
      pre-trial and post-conviction detainees housed there. In general, officers typically,
      worked 12-hour shifts on a rotation of 4 days on, 4 days off, 3 days on, 3 days off
      over the course of a two-week period.

            While the Jail contained several dorms to house detainees, a limited number
      of inmates were held for limited periods in observation cells in the "Booking" area.
      Booking consisted of the Booking desk which formed the central hub of detainee


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intake, jail movement, communication, and operations. Eight booking cells could be
directly observed by officers at the Booking desk several feet away. Among the eight
Booking cells, BK5 was unique in that it was essentially a cement box with a small
grate on the floor that opens into a hole for fluids to drain from the cell. Capable of
being "flushed" only from outside of the cell, BK5 was often referred to as the drunk
tank in that it could easily be hosed down when inebriated people held there would
vomit. BK5 was unlike all other cells in the Jail, but for observation cell AH3, which
had no hole in the floor and was used only for holding detainees for hours at a time.

       BK5 did not have a sink, a toilet, access to any running water, or a raised
platform to be used as a bed. Detainees housed in BK5 depended on officers to escort
them to a toilet or shower and relied on officers to bring them water. BK5 was
notoriously cold during winter months and the temperature on the bare cement floor
was even colder. A small window was located on the top half of the cell door and a
larger window covered the bottom half of the door. Again, this bottom window was
unique among the observation cells, other than AH3, and offered considerably more
opportunity for observation from the Booking desk than any of the other Booking
cells.

        Medical and mental health services were provided by an outside contractor
hired by Walker County. As part of the booking process, all detainees booked into
the jail were supposed to receive a medical and mental health screening to ensure
that emergent and urgent health needs are met and to determine, among other things,
their fitness for confinement. Jailers understood that they could alert nursing staff to
inmates' medical and mental needs of which they became aware. In addition to the
nurses who served on regular shifts attending to the daily medical needs of the
inmates, there were two "providers" who acted as medical supervisors at the Jail: A
Nurse Practitioner and a Mental Health Practitioner, both of whom were available
to be consulted regarding the medical and mental health needs of the inmates.

       On January 12, 2023, Walker County Sheriffs deputies responded to the
home of Individual # 1 in response to a request that they conduct a mental health
welfare check. Individual #1 was arrested after he allegedly fired a gun while
deputies were on his property and officers in the Jail became aware of his arrest
through the Sheriffs social media posts and conversations amongst themselves.
Individual #1 remained detained at the Jail from January 12, 2023, through January
26, 2023, when he was taken to the local hospital. Upon arrival, he suffered cardiac
arrest from which he did not recover. Emergency personnel documented his core
body temperature as 72 degrees Fahrenheit, a temperature incompatible with life.


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       During Individual #1 's detention, defendant BROWN worked the night shift
at the Jail on January 14th, 15th, 16th, 17th, and again on January 22nd, 23rd, and
24th, as a correctional officer. During his incarceration, Individual #1 was housed in
booking cell BK5. For the vast majority of time, he was housed naked, without a
mat or blanket, left to lie on the cold, bare, cement floor.

       Defendant BROWN was under the impression that Individual #1 was being
kept on "suicide watch" per instructions from the Jail's managers, but believed the
designation was out of the ordinary because normally the medical staff determined
who was on or off suicide watch and medical did not appear to be caring for
Individual #1. As time passed, defendant BROWN observed Individual #1 to
deteriorate physically. Individual # 1's speech remained largely unintelligible, he
became more listless, and he believed that Individual # 1 would be at risk of serious
harm if he didn't get help. Defendant BROWN recognized that BK5 was
particularly cold in the Jail, especially in the winter, and that lying on the bare cement
floor while naked in that temperature was cruel.

      Defendant BROWN didn't believe that Individual #1 was in his "right mind"
from his earliest interactions with him because Individual #1 frequently wasn't lucid,
often didn't eat his food, and regularly appeared to be covered in feces. In one
instance, Individual # 1 did not know which way to tum after coming out of a shower
because he was so confused. Defendant BROWN became sufficiently concerned
and approached his shift Lieutenant about the decision to maintain Individual # 1
under the conditions in which he was housed. His shift Lieutenant raised those
concerns with the Captain, but the conditions remained the same.

       Nonetheless, despite the inferences he drew in the face of the objectively
obvious harmful conditions, defendant BROWN contacted no one other than his
shift Lieutenant, despite realizing that she was unable or unwilling to meet
Individual #1 's most basic needs. As such, defendant BROWN did not take
reasonable steps to alert appropriate authorities about the objectively harmful
conditions of Individual # 1's confinement. Instead, he sought to avoid scrutiny from
Jail managers by joining others in the jail who permitted Individual #1 to suffer from
the cruel conditions under which he was housed.




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             The defendant hereby stipulates that the facts stated above are

       substantially correct and that the Court can use these facts in calculating the

       defendant's sentence. The defendant further acknowledges that these facts do

       not constitute all the evidence of each and every act that the defendant and/or

       any co-conspirators may have committed.


                                       DANIEL LEE ALLAN BROWN

III.         RECOMMENDED SENTENCE

             Subject to the limitations in section VII regarding subsequent conduct and

       pursuant to Fed. R. Crim. P. ll(c)(l)(B), the Government will recommend the

       following disposition:

             A.    That the defendant be awarded a two (2) level reduction in the
                   defendant's adjusted offense level, based upon the defendant's apparent
                   prompt recognition and affirmative acceptance of personal
                   responsibility for the defendant's criminal conduct. The Government
                   agrees to make a motion pursuant to USSG §3El .1 (b) for an additional
                   one-level decrease in recognition of the defendant's prompt notification
                   to the Government of the intention to enter a plea of guilty. The
                   Government may oppose any adjustment for acceptance of
                   responsibility if the defendant: (1) fails to admit each and every item in
                   the factual stipulation; (2) denies involvement in the offense; (3) gives
                   conflicting statements about the defendant's involvement in the
                   offense; (4) is untruthful with the Court, the Government, or the United
                   States Probation Officer; (5) obstructs or attempts to obstruct justice
                   prior to sentencing; (6) engages in any criminal conduct between the
                   date of this agreement and the date of sentencing; or (7) attempts to
                   withdraw the defendant's plea of guilty for any reason other than those
                   expressly enumerated in the "Waiver of Right to Appeal and Post-
                   Conviction Relief' section of this Plea Agreement;


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            B.    That the defendant be remanded to the custody of the Bureau of Prisons
                  and incarcerated for a term consistent within the advisory United States
                  Sentencing Guideline range as calculated by the Court at the time of
                  sentencing;

            C.    That following said term of imprisonment, the defendant be placed on
                  supervised release for a period to be determined by the Court, subject
                  to the Court's standard conditions of supervised release;

            D.    That the defendant be required to pay a fine in accordance with the
                  sentencing guidelines should the Court determine that the defendant has
                  the ability to pay a fine, said amount due and owing as of the date
                  sentence is pronounced, with any outstanding balance to be paid in full
                  by the expiration of the term of supervised release; and,

            E.    That the defendant pay a special assessment of $25.00, said amount due
                  and owing as of the date sentence is pronounced.

IV.         WAIVERS

            A.    STATUTE OF LIMITATIONS WAIVER

            In consideration of the recommended disposition of this case, I,

      DANIEL LEE ALLAN BROWN, hereby understand, acknowledge, and agree

      that if this plea agreement is set aside for any reason, I will not assert any

      defense based on any applicable statute of limitations or the Speedy Trial Act,

      18 U.S.C. § 3161, et seq., that includes the passage of time from and including

      the date of this plea agreement until and including the date of entry of any

      order setting this plea agreement aside.




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      B.     RIGHT TO APPEAL AND POST-CONVICTION RELIEF

      In consideration of the recommended disposition of this case, I,

DANIEL LEE ALLAN BROWN, hereby waive and give up my right to appeal

my conviction and/or sentence in this case, as well as any fines, restitution, and

forfeiture orders, the Court might impose. Further, I waive and give up the

right to challenge my conviction and/or sentence, any fines, restitution,

forfeiture orders imposed or the manner in which my conviction and/or

sentence, any fines, restitution, and forfeiture orders were determined in

anypost-conviction proceeding, including, but not limited to, a motion brought

under 28 U.S.C. § 2255, and any argument that (1) the statute to which I am

pleading guilty is or are unconstitutional or (2) the admitted conduct does not

fall within the scope of the statute.

      The defendant reserves the right to contest in an appeal or post-

conviction proceeding(s) the following:

             1.    Any sentence imposed in excess of the applicable statutory
                   maximum sentence(s);

            2.     Any sentence imposed in excess of the Guidelines range
                   determined by the Court at the time sentence is imposed; and

            3.     Ineffective assistance of counsel.

      The defendant acknowledges that before giving up these rights, the

defendant discussed the United States Sentencing Guidelines and their


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application to the defendant's case with the defendant's attorney, who

explained them to the defendant's satisfaction. The defendant further

acknowledges and understands that the Government retains its right to appeal

where authorized by statute.

      C.    WAIVER OF RULE 410, RULE 11, AND SECTION 1Bl.8(a)

      The defendant agrees that if he fails to comply with any of the provisions

of this agreement, including the failure to tender such agreement to the district

court, or attempts to withdraw the plea (prior to or after pleading guilty to the

charges identified in the agreement), the government will have the right to

characterize such conduct as a breach of the agreement. In the event of such a

breach, the defendant waives any protections afforded by Section 1Bl.8(a) of

the Sentencing Guidelines, Rule 11 of the Federal Rules of Criminal Procedure,

and Rule 410 of the Federal Rules of Evidence, and the government will be free

to use against the defendant, directly and indirectly, in any criminal or civil

proceeding any of the information, statements, and materials provided by him

pursuant to this agreement, including offering into evidence or otherwise using

the attached Agreed Factual Basis for Guilty Plea.

      I, DANIEL LEE ALLAN BROWN, hereby place my signature on the line

directly below to signify that I fully understand the foregoing paragraphs, and




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      that I am knowingly and voluntarily entering into this waiver.


                                      DANIEL LEE ALLAN BROWN

V.          UNITED STATES SENTENCING GUIDELINES

            The defendant's counsel has explained to the defendant, that in light of the

      United States Supreme Court's decision in United States v. Booker, the federal

      sentencing guidelines are advisory in nature. Sentencing is in the Court's discretion

      and is not required to be within the guideline range. The defendant agrees that,

      pursuant to this agreement, the Court may use facts it finds by a preponderance of

      the evidence to reach an advisory guideline range, and the defendant explicitly

      waives any right to have those facts found by a jury beyond a reasonable doubt.

VI.         AGREEMENT NOT BINDING ON COURT

            The defendant fully and completely understands and agrees that it is the

      Court's duty to impose sentence upon the defendant and that any sentence

      recommended by the Government is NOT BINDING UPON THE COURT, and

      that the Court is not required to accept the Government's recommendation. Further,

      the defendant understands that if the Court does not accept the Government's

      recommendation, the defendant does not have the right to withdraw the guilty plea.




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VII.         VOIDING OF AGREEMENT

             The defendant understands that if the defendant (a) violates any federal, state,

       or local law or any condition of pretrial release after entering into this plea

       agreement, (b) moves the Court to accept a plea of guilty in accordance with, or

       pursuant to, the provisions of North Carolina v. Alford, 400 U.S. 25 (1970),

       (c) tenders a plea of nolo contendere to the charges, (d) violates any other term of

       this plea agreement, and/or (e) does or says anything that is inconsistent with the

       acceptance of responsibility, the plea agreement will become NULL and VOID at

       the election of the United States, and the United States will not be bound by any of

       the terms, conditions, or recommendations, express or implied, which are contained

       herein. Further, such election will not entitle the defendant to withdraw a previously

       entered plea.

             The defendant further understands and agrees that if at any time, the

       government determines that the defendant has 1) falsified, concealed, covered up, or

       omitted a material fact; 2) made any false, fictitious, or fraudulent statement or

       representation; or 3) otherwise provided material information or evidence that is not

       full, complete, and accurate, the obligations of the government under the plea

       agreement will become NULL and VOID at the election of the United States, and

       the United States will not be bound by any of the terms, conditions, or

       recommendations, express or implied, which are contained herein. In that event, the


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        government may also prosecute the defendant for false statements, perJury, or

        obstruction of justice and use any admissions made by the defendant at any time,

        including during plea negotiations, for any purpose. Further, such election will not

        entitle the defendant to withdraw his previously entered plea.


VIII.         OTHER DISTRICTS AND JURISDICTIONS

              The defendant understands and agrees that this agreement DOES NOT BIND

        any other United States Attorney in any other district, or any other state or local

        authority.

 IX.          COLLECTION OF FINANCIAL OBLIGATION

              To facilitate the collection of financial obligations to be imposed m

        connection with this prosecution, the defendant agrees to:

           • fully disclose all assets in which the defendant has any interest or over which

              the defendant exercises control, directly or indirectly, including those held by

              a spouse, nominee or other third party;

           • promptly submit a completed financial statement to the United States

              Attorney's Office, in a form that it provides and as it directs;

           • identify all assets over which the defendant exercises or exercised control,

              directly or indirectly, within the past five years, or in which the defendant has

              or had during that time any financial interest;



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        • take all steps as requested by the Government to obtain from any other parties

           by any lawful means any records of assets owned at any time by the defendant;

        • undergo any polygraph examination the Government may choose to

           administer concerning such assets and to provide and/or consent to the release

           of the defendant's tax returns for the previous five years.

           The defendant further agrees that the above information, as well as any of the

     defendant's financial statements and disclosures, will be complete, accurate, and

     truthful. Finally, the defendant expressly authorizes the United States Attorney's

     Office to obtain a credit report on the defendant to evaluate the defendant's ability

     to satisfy any financial obligation imposed by the Court.

X.         AGREEMENT REGARDING RELEVANT CONDUCT AND
           RESTITUTION

           As part of the defendant's plea agreement, the defendant admits to the above

     facts associated with the charges and relevant conduct for any other acts. The

     defendant understands and agrees that the relevant conduct contained in the factual

     basis will be used by the Court to determine the defendant's range of punishment

     under the advisory sentencing guidelines. The defendant admits that all the crimes

     listed in the factual basis are part of the same acts, scheme, and course of conduct.

     This agreement is not meant, however, to prohibit the United States Probation Office

     or the Court from considering any other acts and factors, which may constitute or



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       relate to relevant conduct. Additionally, if this agreement contains any provisions

       providing for the dismissal of any counts, the defendant agrees to pay any

       appropriate restitution to each of the separate and proximate victims related to those

       counts should there be any and waives objection to the inclusion of that restitution

       in any order issued by the Court.

XI.          TAX, FORFEITURE AND OTHER CIVIL/ADMINISTRATIVE
             PROCEEDINGS

             Unless    otherwise specified herein, the defendant understands and

       acknowledges that this agreement does not apply to or in any way limit any pending

       or prospective proceedings related to the defendant's tax liabilities, if any, or to any

       pending or prospective forfeiture or other civil or administrative proceedings.

XII.         IMMIGRATION STATUS

             The defendant recognizes that pleading guilty may have consequences with

       respect to the defendant's immigration status if the defendant is not a citizen of the

       United States. Under federal law, a broad range of crimes are removable offenses,

       including the offense to which the defendant is pleading guilty. The defendant's

       guilty plea and conviction make it practically inevitable and a virtual certainty that

       the defendant will be removed or deported from the United States if the defendant is

       not a citizen of the United States. Removal and other immigration consequences are

       the subject of a separate proceeding, however; and the defendant understands that



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        no one, including his attorney or the district court, can predict to a certainty the effect

        of his conviction on his immigration status. Understanding all of this, the defendant

        nevertheless affirms that the defendant wants to plead guilty regardless of any

        immigration consequences that the plea may entail, even if the consequence is

        automatic removal from the United States.

XIII.          DEFENDANT'S ACKNOWLEDGEMENT

               I have read and understand the provisions of this plea agreement consisting of

        sixteen (16) pages. I have discussed the case and my constitutional and other rights

        with my lawyer. I am satisfied with my lawyer's representation in this case. I

        understand that by pleading guilty, I will be waiving and giving up my right to

        continue to plead not guilty, to a trial by jury, to the assistance of counsel at that trial,

        to confront, cross-examine, or compel the attendance of witnesses, to present

        evidence on my behalf, to maintain my privilege against self-incrimination, and to

        the presumption of innocence. I agree to enter my plea as indicated above on the

        terms and conditions set forth herein.

              NO PROMISES OR REPRESENTATIONS OTHER THAN THOSE IN
              THE AGREEMENT HAVE BEEN MADE TO ME BY THE
              PROSECUTOR, OR BY ANYONE ELSE, NOR HAVE ANY THREATS
              BEEN MADE OR FORCE USED TO INDUCE ME TO PLEAD
              GUILTY.




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             I further state that I have not had any drugs, medication, or alcohol within the

       past 48 hours except as stated here:



             I understand that this plea agreement will take effect and will be binding as to

       the Parties only after all necessary signatures have been affixed hereto.

             I have personally and voluntarily placed my initials on every page of this plea

       agreement and have signed the signature line below to indicate that I have read,

       understand, and approve all the provisions of this plea agreement, both individually

       and as a total binding agreement.

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                 DATE                         DANIEL LEE ALLAN BROWN
                                              Defendant

XIV.         COUNSEL'S ACKNOWLEDGMENT

             I have discussed this case with my client in detail and have advised my client

       of all my client's rights and all possible defenses. My client has conveyed to me that

       my client understands this plea agreement and consents to all its terms. I believe the

       plea and disposition set forth herein are appropriate under the facts of this case and

       are in accord with my best judgment. I concur in the entry of the plea agreement on

       the terms and conditions set forth herein.

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                                        c::::?us ~ N
                                              Defendant's Counsel


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XV.              GOVERNMENT'S ACKNOWLEDGMENT

                 I have reviewed this matter and this plea agreement and concur that the plea

      and disposition set forth herein are appropriate and are in the interests of justice.

                                                 PRIM F. ESCALONA
                                                 United States Attorney




                                                 MICHAEL A. ROYSTER
                                                 Assistant United States Attorney


                                                 KRISTEN CLARKE
                                                 Assistant Attorney General
                                                 Civil Rights Division



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                   DATE                         MARK BLUMBERG
                                                Special Legal Counsel
                                                Civil Rights Division


                 \\ 1,~1 ~Lf                      ~ ~ b~ MAf<,
                    DATE                         ANDREW CHERRY
                                                 Trial Attorney
                                                 Civil Rights Division




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